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               EXHIBIT 8
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11

W. R. GRACE & CO., et al.,                                 Case Nos. 01-1139 through 01-1200

                Debtors.


OFFICIAL COMMITTEE OF ASBESTOS
PERSONAL INJURY CLAIMANTS and
OFFICIAL COMMITTEE OF ASBESTOS
PROPERTY DAMAGE CLAIMANTS OF
W. R. GRACE & CO., suing in behalf of the
Chapter 11 Bankruptcy Estate of W. R.
GRACE & CO., et al.,

                Plaintiffs,
                                                    )
        -against-                                   )      Adv. No. 02-                             ".

                                                    )
                                                    )
                                                    )
SEALED AIR CORPORATION and                         )
CRYOVAC, INC.                                      )
                                                    )
                Defendants.                        )



                                       ORIGINAL COMPLAINT

        Plaintiffs, by their attorneyg, McKool Smith, P.C., Caplin & Drysdale, Chartered, Bilzin

Sumberg Dunn Baena Price & Axelrod LLP, Campbell & Levine, and Ferry, Joseph & Pearce,

P.A. allege for their complaint, on knowledge as to their own acts, and on information and belief

as to all other matters, as follows:




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                                   NATURE OF THE ACTION

       1.     This is an action to set aside fraudulent transfers by W.R. Grace & Co.-Conn.

("Grace-Conn."). Various businesses owned and operated by Grace-Conn. manufactured and

sold asbestos products. Those products have been responsible for severe personal injuries and

tens of thousands of deaths. As a result, Grace-Conn. is a defendant in thousands of lawsuits

(now stayed) filed by individuals and survivors of individuals exposed to its asbestos products.

Grace-Conn. also faces extensive liabilities for asbestos property damage, and is a defendant in

state and national class actions (also currently stayed) alleging liability for an attic insulation

product containing asbestos known as "Zonolite."

       2.      The~at leged-fr audutentAran s fer~s4hat-ar e-t he~subje cLoLthis-ac t i°njnv-°Lv-e: -(j-)-t he

transfer by Grace-Conn. in 1998 of its most valuable and profitable operating business (the

"Packaging Business") to a subsidiary, and (2) the transfer of the subsidiary’s stock to its then

parent, W.R. Grace & Co., n/k/a Sealed Air Corporation ("Grace-1998"), for wholly inadequate

and insufficient consideration (collectively the "Transfers").

       3.      The Transfers were calculated to place the value of the Packaging Business

beyond the reach of Grace-Conn.’s asbestos victims and other creditors.

       4.      in the wake of the Transfers, Grace-Conn.’s liabilities, including its liabilities to

asbestos victims, greatly exceeded its remaining assets.

       5.      On April 2, 2001, W.R. Grace & Co., f/k/a W.R. Grace Specialty Chemicals Inc.

and Grace-Conn. were two of a number of related debtors that filed a voluntary petition for




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reorganization under chapter 11 of title 11 of the United States Code. The reorganization cases

are referred to herein as the "Bankruptcy Cases," and title 11 is referred to as the "Bankruptcy

Code". No trustee has been appointed in the Bankruptcy Cases, and the debtors, including

Grace-Conn., continue to manage their property as debtors-in-possession pursuant to 11 U.S.C.

§ 1107.

                                JURISDICTION AND VENUE

               This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331 and

1334(b).

          7.    Venue lies in this District pursuant to 28 U.S.C. §§ 1391(b) and 1409(c).

                                            PARTIES

                Plaintiffs, the Official Committee of Asbestos Personal Injury Claimants and the

Official Committee of Asbestos Property Damage Claimants of Grace ("Plai~iffg" or the

"Asbestos Committees"), are committees of creditors appointed by the United States Trustee

pursuant to 11 U.S.C. § 1102(a). The Asbestos Committees are made up of persons and entities

that assert tort claims against Grace and Grace-Conn. by reason of personal injuries, wrongful

death or property damage caused by asbestos-containing products.

          9.    Pursuant to its "Order re Fraudulent Conveyance Proceedings" (the "Authorizing

Order"), this Court has authorized the Asbestos Committees, as representatives of Grate’s

bankruptcy estate, to prosecute and enforce any and all claims arising from the Transfers.

          10. The Asbestos Committees bring this action pursuant to 11 U.S.C. §544(b) and

 other applicable law for the purpose of avoiding the Transfers, recovering the property




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transferred or the value of such property for the benefit of the debtors’ estates and creditors, and

subjecting Defendants to liability for Asbestos Claims against the debtors.

        11. Defendant Sealed Air Corporation ("Sealed Air" or "Grace-1998") is a Delaware

corporation with its principal place of business at Park 80 East, Saddle Brook, New Jersey.

        12. Defendant Cryovac, Inc. is a Delaware corporation with its principal place of

business at Park 80 East, Saddle Brook, New Jersey.



                                   FACTUAL ALLEGATIONS

        Asbestos Disease and Litigation


        13. Experts estimate that at least 21 million American workers have been exposed to

"significant" amounts of asbestos at the workplace since 1940. Millions of others have been

exposed through environmental contact or contact with relatives wh~o hav~ged~tq~ihe

products. Because of the toxic effects of asbestos exposure, literally tens of thousands of people

fall ill or die from asbestos-related diseases every year. In legal terms, asbestos exposure has

translated into hundreds of thousands of lawsuits.

        14. Asbestos litigation has been on going for four decades, and as a result of this

litigation numerous companies have been forced into bankruptcy. Raymark Industries, Forty-

Eight Insulations, Unarco, Standard Asbestos, Johns-Manville Corporation, Eagle-Picher

Industries, and Celotex Corporation, just to name a few, all declared bankruptcy due to asbestos

liability prior to the Transfers. Prior to 1998, the risks and liabilities associated with asbestos

were widely known and served as the incentive and motivation for the Transfers.




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                 The Transfers~ Lack of Reasonably Equivalent Value

                 15. Prior to the Transfers, Grace-1998 was a publicly traded corporation, owning as

        its sole asset 100% of the stock of Grace-Conn. Grace-Conn., in turn, was an operating company

        with divisions engaged in, among other things, construction and performance chemicals, can

        sealants, and the Packaging Business.

                 16. The value of all of these businesses was available to satisfy the claims of all

        persons and entities who had demanded or would demand in the future compensation for

        personal injuries, wrongful death, or property damage attributed to asbestos or asbestos-

        containing products. (This Complaint refers to such persons as "Asbestos Claimants" and to

        their asbestos-related claims as "Asbestos Claims".)

                 17. Not later than 1996, Grace-Conn.’s parent and its management embarked on a

"   ¯   plan and course of conduct to ~enhanee shareholder value~ by systematically stripping Grace- .....

        Conn. of valuable assets and placing those assets beyond the reach of Asbestos Claimants,

        thereby enriching the parent company and its public stockholders at the expense of such

        creditors. In 1996, Grace-Conn. was divested of its health care business in a transfer and spin-

        off pursuant to such plan and course of conduct. The Transfers and disposition of the Packaging

        Business formed part of the same scheme and pattern and are the focus of the instant Complaint.~


                 18. The Packaging Business was, by far, Grace-Conn.’s most profitable and valuable

        business at the beginning of 1998. It accounted for the lion’s share of Grace-Conn.’s revenues

        and profits, and was viewed in the market place as the primary basis of Grace-1998’s stock value.


        ~ Plaintiffs have also filed an action against Fresenius Medical Care, Inc., f/k/a W.R. Grace & Co., to set aside a
        fraudulent transfer by Grace-Conn. in 1996 of Grace-Conn.’s former health care subsidiary, National Medical Care,
        Inc. (the "Fresenius Transfer").




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                             19. In March, 1998, Grace-1998 consummated the Transfers that were designed to

                  "free" the Packaging Business from the taint of Grace-Conn.’s asbestos liabilities, and thus

                  enable Grace-1998’s stockholders to realize significant excess value and returns at the expense

                  and to the detriment of Grace-Conn.’s creditors.


                         20.       The Transfers proceeded as follows:

                                   Grace-1998 caused Grace-Conn. to create a new wholly owned subsidiary,

                  Cryovac, Inc. ("Packco’), to which Grace-Conn. transferred all of the assets and liabilities

                  related to the Packaging Business.

                                   Grace-1998 then caused Grace-Conn. to contribute the capital stock of Packco to

                  Grace-1998. At the time of the Transfers, the Packco stock had a fair value in excess of $5

                  billion.

..... ¯   Grace-i998 madea capital contribution to Grace-Corm. conslsting of~ payment                                ¯-

                  of approximately $1.2 billion, adjusted for various items including taxes and transaction costs

                  (the "Capital Contribution"). The Capital Contribution was derived from a loan Grace-1998

                  obtained in the same amount that was secured by.the assets of Packco.

                                   Grace-1998 then caused Grace --Conn. to use the Capital Contribution to pay

                  certain obligations, including the public debt of Grace-Conn., that were guaranteed by Grace-

                  1998 or for which Grace-1998 had contingent liability.

                                   Grace-1998 then formed a new wholly owned subsidiary, Grace Specialty

                  Chemicals, Inc., and transferred the st~ck of Grace-Conn. (which now consisted largely of its

                  chemical businesses and asbestos liabilities) to Grace Specialty Chemicals.




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                 Grace-1998 then spun offto its shareholders this new subsidiary, Grace Specialty

Chemicals, as a totally separate eompany and renamed it as W.R. Grace & Co. ("Grace"). This

transfer left Grace-1998 with the stock of Packeo as its sole asset, and no further identified

connection to the asbestos claims and liabilities.

                 Pursuant to an agreement entered into in August, 1997, Grace-1998 then

consummated a transaction with Sealed Air Corporation ("Old Sealed Air"), a publicly traded

Delaware corporation, that (i) merged a newly-created subsidiary of Graee-1998 into Old Sealed

Air, now renamed as Sealed Air Corporation, U.S. ("Sealed Air US"), (ii) established Sealed Air

US and Packco as wholly owned subsidiaries of Grace-1998, (iii) renamed Grace-1998 as Sealed

Air Corporation, (iv) with the result that Grace-1998’s we-merger shareholders obtained

approximately 63% of the stock of post-merger Grace-1998, and Old Sealed Air’s shareholders

~b.tained_apN~o~xim~__t_e!y_ 37% of the stock.

        21. Before the incorporation of Packco, financial advisors to Grace-1998 valued the

Packaging Business in the range of $ 3.8 billion to $ 4.5 billion.

        22. The distribution of the stock of post-merger Grace-1998 to public shareholders of

Grace-1998 and public shareholders of Old Sealed Air was based on further valuations

performed by financial advisors for Grace-1998 and Old Sealed Air Corporation, each of which

valued the stock of Packco at approximately $5 billion (after taking into aeeount the $1.2 billion

of debt encumbrances that were incurred to fund the Capital Contribution).

        23. Upon consummation of the March 1998 transactions, Grace-1998, now owning

Packco and Sealed Air US, emerged with a market capitalization of approximately $9 billion.




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The 63% interest that went to shareholders of Grace-1998 had a market value of approximately

$5.7 billion.

       24.      As a result of the Transfers, Grace-Conn. was stripped of assets worth more than

$5 billion. Grace-Conn. received the $1.2 billion Capital Contribution, but it was used largely for

the benefit of Grace-1998 through payment of prior debts. With its property greatly depleted,

Grace-Conn. was ostensibly left with sole responsibility for liabilities to Asbestos Claimants who

would otherwise have had recourse to the value of Packco.

       25. Not surprisingly, Grace-1998 acknowledged in its Form S-4 relating to the merger

with Old Sealed Air, filed with the SEC on February 13, 1998 (the "1998 S-4), that the Transfers

might constitute a fraudulent transfer:



                       "Claimants ~ ~i~ brJ~ ~i~ ~6~n~ r666~bry fr6~ N~ ......
                       Sealed Air or its subsidiaries by claiming that the transfers
                       of assets and liabilities in connection with the
                       reorganization of Grace, including the separation of
                       Grace’s packaging and specialty chemicals businesses and
                       the cash transfer to and spin-offofNew Grace, were
                       ’fraudulent transfers.’ A transfer would be a fraudulent
                       transfer if the transferor received less than reasonably
                       equivalent value and the transferor was insolvent at the
                       time of the transfer, was rendered insolvent by the transfer
                       or was left with unreasonably small capital to engage in its
                       business. A transfer may also be a fraudulent transfer if it
                       was made to hinder, delay or defraud creditors. If any
                       transfers in connection with the reorganization of Grace are
                       found to be fraudulent transfers, the recipient (including
                       New Sealed Air and its subsidiaries) might be required to
                       return the property to the transferor."

Grace-1998 S-4, p. 22.




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                        26. Grace-1998 represented that the newly formed Grace would be adequately

                 capitalized and claimed that the Transfers were not fraudulent. Grace-1998 admitted, however,

                 in its SEC filing that "a court applying the relevant legal standards may not reach the same

                 conclusions." Grace-1998 S-4, p. 23.

                         Grace-Conn.’s Asbestos Liabilities and Insufficient Reserves

                        27. As of the date of the Transfer, it was obvious that Grace-Conn. faced tremendous

                 exposure as a result of its asbestos liabilities, Grace-1998’s consolidated accrual for asbestos

                 liabilities at December 31, 1997, was $855.9 million. Grace-1998 Form 10-K dated December

                 3l, 1997, p. 10 (the "1997 IO-K"). This reserve took into account the pending asbestos-related

                 personal injury and property damage claims as well as asbestos-related personal injury claims

                 expected to be filed through 2002, but simply ignored all Asbestos Claims expected to be filed

....... thereafter. The reserve grossly understated the extent of Grace-Conn.’s actual asbestos liabilities.

                        28. Indeed, according to the Grace Form 10-K filed with the SEC on April 2, 2001

                 (the "2001 10-K), as of December 31, 2000, Grace-Conn. was a defendant in approximately

                 61,395 asbestos related lawsuits, involving 124,907 claims for personal injury.

                        29. In that same Form 10-K, Grace noted that judgments had been entered against it

                 in seven (7) asbestos-related property damage lawsuits for a total of $60.3 million and that it had

                 settled 53,607 asbestos-related personal injury lawsuits for a total of approximately $1.25 billion.

                 Grace also increased its accrual for asbestos liabilities as of December 31, 2000 to $1:1 billion,

                 notwithstanding its payment of in excess of $500 million in judgments and settlements since its

                 December, 1997 estimate. Grace’s reserve, moreover, did not take into account a certified class

                 action filed on behalf of all owners of homes containing Grace-Conn.’s Zonolite Attic Insulation




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              in the State of Washington and a multi-district national class action filed against it that was

             pending in the federal district court of Massachusetts,

                     30. At the time of the Transfers, or immediately after the carrying out of the

             Transfers, Grace-Conn. was insolvent by reason of its massive asbestos liabilities, even without

             regard to liability for Zonolite.

                     The Asbestos Committees are Armed with All Cal~ses of Aetio~a
                     Belonging to Grace Conn. and All Avoidance Powers Derived From its Creditors


                     31.      Pursuant to the Authorizing Order, the Asbestos Committees have standing to

             prosecute and enforce all claims belonging to pre-petition Grace-Conn. arising from the

             Transfers. Pursuant to the Authorizing Order and the strong-arm powers inhering in the debtor-

             in-possession (see 11 U.S.C. §§ 544(b), l107(a)), the Asbestos Committees also have standing

..... to assert .the rights of any and all creditors of Grace,Conn. to avoid the Transfers ..........

                     32. For purposes of section 544(b) of the Bankruptcy Code and applicable law

             governing transfers by debtors, the Asbestos Claimants were all creditors of Grace-Conn.

             regardless of whether their respective claims were matured or unmatured, liquidated or

             unliquidated, absolute, fixed or contingent.

                    33. Pursuant to section 544(b) of the Bankruptcy Code, plaintiffs "may avoid any

             transfer of an interest of the debtor in property or any obligation incurred by the debtor that is

             voidable under applicable law by a creditor holding an unsecured claim that is allowable under

             section 502 of this title [title I 1 of the United States Code] .... " 11 U.S.C. § 544(b). There exist

             one or more unsecured creditors holding an allowable claim within the meaning of section

             544(b) who, subject only to the automatic stay of bankruptcy, have the right to avoid the Transfer




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under applicable nonbankruptcy law, including but not limited to the Uniform Fraudulent

Conveyance Act as in force in several States, the Uniform Fraudulent Transfer Act as in force in

the majority of States, and subehapter D of chapter 76 of the United States Code, 28 U.S.C.

§ 3301 et seq. The Asbestos Committees, as representatives of the bankruptcy estates of Grace

and Grace-Conn., wield here all avoidance rights derived from those creditors.

                                             ~OUNT I
                                 Constructive Fraudulent Transfer

       34.     Plaintiffs repeat and reallege the allegations of paragraphs 1 through 33.

        35.    Under applicable law, a transfer is fraudulent as to a present creditor if it was

made by the debtor without receiving a reasonably equivalent value in exchange for the transfer,

and the debtor was insolvent at that time or became insolvent as a result of the transfer.

       36.    Grace-Conn. did not receive reasonably equivalent value in exchange for the

Transfers. At the time of the Transfers, Grace-Conn. was insolvent within the meaning of

applicable law, or became insolvent as a result of the Transfers.

       37. Accordingly, the Transfers were fi’audulent as to Grace-Conn.’s creditors, without

regard to Grace-Conn.’s actual intent.

                                             C___OUNT 1I

                                 Constructive Fraudulent Transfer

       38.     Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 33.

       39.     Under applicable law, a present or future creditor may recover for a transfer made

without receiving a reasonably equivalent value in exchange for the transfer if the remaining

assets of the debtor were unreasonably small in relation to the business or transaction.




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          40. At all times from and after the Transfers, Grace-Conn. was engaged in a business

for which the assets left in its hands were unreasonably small.

          41. Accordingly, pursuant to applicable law, the Transfers were fraudulent as to

Grace-Conn.’s creditors, again without regard to Grace-Conn.’s actual intent.



                                 Constructive Fraudulent Transfer

          42.   Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 33.

          43.    Under applicable law, a present or future creditor may recover for a transfer made

without receiving a reasonably equivalent value in exchang~ for the transfer if the debtor

believed or reasonably should have believed that it would incur debts beyond its ability to pay as

they became due.

          44. When Grace-Conn. made the Transfers, it believed, or reasonably should have

believed that it would incur debts beyond its ability to pay as they mature.

          45. Accordingly, pursuant to applicable law, the Transfers were fraudulent as to

Grace-Conn.’s.creditors, again without regard to actual intent.

                                             C___OUNT IV

                       Transfer Made With Iutent to Hinder, Delay or Defraud

          46.   Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 33.

          4%    Under applicable law, a transfer is fraudulent as to present or future creditors if

the debtor made the transfer with actual intent to hinder, delay or defraud any creditor of the

debtor.




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        48. The Transfers were made with actual intent to hinder, delay, or defraud present

and future creditors of Grace-Conn., including the Asbestos Claimants. In each Transfer, the

transferees shared in that intent.

        49. Such intent is apparent from, inter alia, the direct and natural consequence of the

Transfers in prejudicing the rights of Asbestos Claimants by means of the unjust diminution in

the property of Grace-Conn., and from the following "badges of fraud": (i) The Transfers were

to insiders; (ii) the public stockholders of Grace-1998 retained indirect ownership of the

transferred property before and after the Tranfers; (iii) the Transfers and the role of various

entities in connection therewith were obscured by the inordinately complex steps by which the

scheme was carried out, including without limitation the proliferation of entities named "W.R.

Grace & Co." and the renaming of Grace-1998 as "Sealed Air Corporation"; (iv) before the

Transfers were made, Grace-Conn. and affiliates had been sued in tens of thousands of a~sbestos-

related cases and expected to be sued in tens of thousands of additional asbestos-related cases in

the future; (v) the value of the consideration received by Grace-Conn. in the Transfers was not

reasonably equivalent to the value of the property transferred; and (vi) Grace-Conn. was

insolvent at the time of the Transfers or became insolvent shortly thereafter.

        50. Accordingly, pursuant to applicable law, the Transfers were fraudulent as to

Grace-Conn.’s creditors.

                                            COUNT V

                                        Successor Liability

        51. Plaintiffs repeat and rcallege all of the allegations of paragraphs t through 33.




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       52. The Transfers and related steps were undertaken for the fraudulent purpose of

escaping Asbestos Claims.

       53. There is no just reason to respect the integrity of the Transfers or related steps.

On the contrary, respecting such transactions would unjustly elevate form over substance and

allow the improper purpose of these transactions to succeed by placing assets of Grace-Conn.

beyond the reach of Asbestos Claimants.

       54. Accordingly, Grace-1998 and Packco have succeeded by operation of law to

unlimited liability for Asbestos Claims against Grace-Conn. or Grace.

                                            coup_ T Va
                                    Piercing the Corporate Veil

       55.     Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 33.

       56.     In the Transfers and related steps, Grace-Conn., Grace, and Packco ~ere subject

to Grace-1998’s pervasive domination and control. Grace-Conn., Grace, and Packco lacked any

separate mind, will or existence of their own, and acted as the mere instrumentalities, agents and

alter egos of Grace-1998.

       57. The Transfers were effectuated for the fraudulent and improper purpose of

knowingly and intentionally enhancing the interests of Grace-1998’s shareholders at the expense

and to the unjust detriment of the Asbestos Claimants.


       58. Grace-Conn., Grace, and Asbestos Claimants who are creditors of those entities

have suffered injury and unjust loss as a proximate result of the misconduct of Grace-1998 and

the wrongful exercise of domination and control in the Transfers and related steps.




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                          59. In the interest of substantial justice, the corporate veils separating Grace-1998 and

                  Packco from Grace-Conn. and Grace should be pierced and disregarded, and Defendants should

                  be subjected to unlimited liability for the Asbestos Claims against Grace-Conn. or Grace.

                                                                 ~2OUNT VII
                                                           Breach of Fiduciary Duty

                          60.        Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 33.

                          61.        As the sole shareholder of Grace-Conn., Grace-1998 owed a fiduciary duty to its

                  subsidiary corporation. As an incident of that fiduciary duty, Grace-1998 bears the burden of

                  proving that any challenged transaction between itself and Grace-Conn. met the test of good faith

                  and inherent fairness from the viewpoint of Grace-Conn.

                           62. In the exercise of control over Grace-Conn. as the only shareholder of that

....... corporation, Grace-1998 caused the Transfers to occur; .....

                           63. The Transfers violated Grace-1998’s fiduciary duty and unjustly enriched Grace-

                   1998, Packco, and their successors at the expense of Grace-Conn. and its creditors. Grace-1998

                  received the Packco stock and Packco received the Packaging Business subject to a duty to make

                   full restitution of the value of that property and all proceeds thereof, and to pay damages to

                   Grace-Conn. to the extent that the value of that property or its proceeds have been dissipated or

                   re-transferred.




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                                             COUNT VIII

                                  Avoidance of Transfer to Insiders
                                 Received in Breach of Fiduciary Duty

        64. Plaintiffs repeat and reallege the allegations of paragraphs 1 through 33.

        65. At the time of the Transfers, the directors and officers of Grace-1998 were subject

to fiduciary duties toward the creditors of Grace-Conn. because (i) Grace-Conn. was insolvent or

was rendered insolvent by the Transfers, or, in the alternative, (ii) if not actually insolvent

immediately before or immediately after the Transfers, Grace-Conn. was operating in the vicinity

of insolvency.


        66. The fiduciary duty owed to creditors obligated Grace-Conn. and its officers and

directors to refrain from preferring insiders over unrelated creditors in the disposition of Grace-

Conn.!s proper~y.

        67. The Transfers and related steps violated the applicable fiduciary duty.

        68. By reason of the Transfers, Defendants have been unjustly enriched.

        69. Having received the proceeds of the Transfers as a direct and proximate result of a

breach of fiduciary duty, Defendants hold those proceeds subject to a duty to make full

restitution thereof.

                                              COUNT X

                                          (Punitive Damages)

        70.      Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 33.

        71.      In respect of the Transfers and related steps, Defendants acted in a willful,

wanton, and reckless manner and in callous disregard of the rights of Grace-Conn.’s asbestos




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                     victims. The misconduct rises to such a high level of moral culpability as to justify the

                     imposition of punitive damages.

                                                                    PRAYER FOR RELIEF
                              WHEREFORE, Plaintiffs demands judgment against Defendants for the benefit of the estates and
                     creditors of Grace-Conn. and Grace, and pray that the Court grant each of the following remedies:

                              a.   avoidance of the Transfer pursuant to 11 U.S.C. § 544(b) or other applicable/aw;

                             b.    recovery of all stock and assets received by Defendants in the Transfers, or a money

                                      judgment for the value thereof, pursuant to 1 ] U.S.C. § 550(a) or other applicable law;

                              c.   a money judgment pursuant to 11 U.S.C. § 550(a) or other applicable law for dissipation
                                       of the transferred proper~¢ after the Transfers, including without limitation any decline in

                                      the value of such property between the time of the Transfers and the time of final
                                      judgment;

                             d.    a money judgment pursuant to ll U.S.C. § 550(a) or other applicable law for all
................................ vunsequantial and incidental damages and expenses incurred by Grace-Conn. or Grace ..............
                                      with respect to, or as a result of, the Transfers;

                             e.    a declaratory judgment that Defendants bear unlimited liability as successors to the
                                      liabilities of Grace-Conn. and Grace for Asbestos Claims;

                             fi    a declaratory judgment that the corporate veils separating Grace- 1998 and Packco from
                                      Grace-Conn. and Grace are pierced and disregarded such that Defendants bear unlimited
                                      liability for Asbestos Claims against Grace-Conn. or Grace;
                             g.    an award of punitive damages according to proof;

                             b.    an award of prejudgment interest;
                             i.    an award of reasonable attorneys’ fees; and

                             j.    such other relief as the Court deems just and proper.




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                                                                             JURY TRIAL DEIVIAND

                                                     Plaimiffs hereby demand a trial by jury for all issues so triable.


                             Dated: March 18, 2002                                  Respectfully submitted,



                                                                                    FERRY, JOSEPH & PEARCE, P.A.

                                                                                    By:/s/Theodore J. Tacconelli
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